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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE NUMBER:


TIM EDWARDS                                                      2:17−cv−02328−FMO−SS
                                            PLAINTIFF(S)

      v.
DELTA DENTAL INSURANCE COMPANY , et al.

                                                              ORDER TO STRIKE ELECTRONICALLY FILED
                                         DEFENDANT(S).
                                                                          DOCUMENT(S)




The Court hereby ORDERS the documents listed below be STRICKEN for failure to comply
with the Court’s Local Rules, General Orders, and/or Case Management Order, as indicated:
   3/29/17                 /             7                       /             Consent Motion to Stay
  Date Filed                            Doc. No.                              Title of Document
                           /                                     /
  Date Filed                            Doc. No.                              Title of Document
Hearing information is missing, incorrect, or not timely.




Other:




Dated: March 31, 2017                                       By: /s/ Fernando M. Olguin
                                                                U.S. District Judge

     Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




G−106 (6/12)          ORDER TO STRIKE ELECTRONICALLY FILED DOCUMENT(S)
